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 7                                     UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

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10    CORY HOCH,                                             1:23-cv-00796-SKO
11                        Plaintiff,                         ORDER REFERRING CASE TO POST-
                                                             SCREENING ADR AND STAYING CASE
12            v.                                             FOR 90 DAYS
13    STEPHANIE CLENDENIN, et al.,
                                                             FORTY-FIVE (45) DAY DEADLINE
14                        Defendants.
15

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18           Plaintiff is a civil detainee proceeding pro se and in forma pauperis in a civil rights action

19   pursuant to 42 U.S.C. § 1983. This action proceeds against Defendants Clendenin and Price for

20   violations of Plaintiff’s constitutional rights.

21           The Court refers all civil rights cases filed by pro se inmates or detainees to Alternative

22   Dispute Resolution (“ADR”) to attempt to resolve such cases more expeditiously and less

23   expensively. In appropriate cases, defense counsel from the California Attorney General’s Office

24   have agreed to participate in ADR. No claims, defenses, or objections are waived by the parties’

25   participation.

26           The Court stays this action for ninety days to allow the parties to investigate Plaintiff’s

27   claims, meet and confer, and participate in an early settlement conference. The Court presumes

28   that all post-screening civil rights cases assigned to the undersigned will proceed to a settlement
                                                         1
       Case 1:23-cv-00796-SKO Document 16 Filed 01/10/24 Page 2 of 4


 1   conference. However, if, after investigating Plaintiff’s claims and meeting and conferring, either

 2   party finds that a settlement conference would be a waste of resources, the party may opt out of

 3   the early settlement conference.

 4            Accordingly, it is hereby ORDERED:

 5            1. This action is STAYED for ninety (90) days to allow the parties an opportunity to

 6               settle their dispute before the discovery process begins. No pleadings or motions may

 7               be filed in this case during the stay. The parties shall not engage in formal discovery,

 8               but they may engage in informal discovery to prepare for the settlement conference.

 9            2. Within forty-five (45) days from the date of this order, the parties SHALL file the

10               attached notice, indicating their agreement to proceed to an early settlement

11               conference or their belief that settlement is not achievable at this time.

12            3. Within sixty (60) days from the date of this order, the assigned Deputy Attorney

13               General SHALL contact the undersigned’s Courtroom Deputy Clerk at

14               wkusamura@caed.uscourts.gov to schedule the settlement conference, assuming the

15               parties agree to proceed to an early settlement conference.

16            4. If the parties reach a settlement during the stay of this action, they SHALL file a

17               Notice of Settlement as required by Local Rule 160.

18            5. The Clerk of the Court SHALL serve via email copies of Plaintiff’s complaint (Doc.

19               1), the Court’s screening order (Doc. 9), and this Order to Supervising Deputy

20               Attorney General Lawrence Bragg (Lawrence.Bragg@doj.ca.gov), and a copy of this
21               Order to ADR Coordinator Sujean Park.

22            6. The parties are obligated to keep the Court informed of their current addresses during

23               the stay and the pendency of this action. Changes of address must be reported

24               promptly in a Notice of Change of Address. See L.R. 182(f).

25
     IT IS SO ORDERED.
26
27   Dated:     January 9, 2024                                  /s/ Sheila K. Oberto                  .
                                                         UNITED STATES MAGISTRATE JUDGE
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      Case 1:23-cv-00796-SKO Document 16 Filed 01/10/24 Page 3 of 4


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11
                                    UNITED STATES DISTRICT COURT
12
                               EASTERN DISTRICT OF CALIFORNIA
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14
     CORY HOCH,                                         Case No. 1:23-cv-00796-SKO
15
                       Plaintiff,
16                                                      NOTICE REGARDING EARLY
           v.                                           SETTLEMENT CONFERENCE
17
     STEPHANIE CLENDENIN, et al.,
18
                       Defendants.
19

20
       1. The party or counsel agrees that an early settlement conference would be productive and
21
          wishes to engage in an early settlement conference.
22
                  Yes ____               No ____
23

24
       2. Plaintiff (check one):
25
                  _____ would like to participate in the settlement conference in person.
26
                  _____ would like to participate in the settlement conference by telephone or video
27
                        conference.
28
                                                    3
       Case 1:23-cv-00796-SKO Document 16 Filed 01/10/24 Page 4 of 4


 1   Dated:
                                               ________________________________
 2                                             Plaintiff or Counsel for Defendant
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